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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                                 NO. 4:06CR00205

TAREKE LEWIS and
ANTHONY LAMONT RANDLE

                               JUDGMENT OF ACQUITTAL

       Pursuant to the Order entered October, 23, 2008, Defendants, Tareke Lewis and Anthony

Lamont Randle are hereby acquitted of the charges set forth in Count Two of the Indictment.

       IT IS SO ORDERED this 24th day of October, 2008.



                                                   ____________________________________
                                                   James M. Moody
                                                   United States District Judge
